       Case
        Case1:19-mj-00177-MU
             1:19-mj-00177-MU *SEALED*
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              (Briefly describe the property to be searched             
               or identify the person by name and address)               % (!     19-mj-177
   A 2016                                      IMPOUNDED                
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                                              SEARCH AND SEIZURE WARRANT
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(identify the person or describe the property to be searched and give its location)*

 for further description, See Attachment A

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property to be seized)*

            See Attachment B.

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P. BRADLEY MURRAY                                             
                                  (name)

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                                                                          P. Bradley Murray U.S.         Digitally signed by P. Bradley Murray U.S. Magistrate Judge
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                                                                                                         District of Alabama, ou=United States District Court,

  -((*          12/05/2019 10:21 am                        Magistrate Judge               email=efile_murray@alsd.uscourts.gov, c=US
                                                                                                         Date: 2019.12.05 10:21:46 -06'00'

                                                                                                Judge’s signature

%+ ( *       Mobile, Alabama                                          P. BRADLEY MURRAY, U. S. Magistrate Judge
                                                                                              Printed name and title
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      Case1:19-mj-00177-MU
           1:19-mj-00177-MU *SEALED*
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AO 93 (Rev. 12/09) Search and Seizure Warrant (Page 2)

                                                               Return
Case No.:                              Date and time warrant executed:      Copy of warrant and inventory left with:
 19-mj-177
Inventory made in the presence of :

Inventory of the property taken and name of any person(s) seized:




                                                            Certification


       I declare under penalty of perjury that this inventory is correct and was returned along with the original
warrant to the designated judge.



Date:
                                                                                  Executing officer’s signature


                                                                                     Printed name and title
